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FOR THE CENTRAL DI
fer.
IN THE MATTER OF

THE
EXTRADITION OF

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WAHAK KATSCHADOR,
aka “Vahagn Khachatryan;)”

A Fugitive from the
Government of the Federal
Republic of Germany

 

 

 

States Attorney

1300 United States Courthouse

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CENTRAL DISTRICT OF CALIFORNIA
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UNITED STATES DISTRICT COURT

STRICT OF CALIFORNIA
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GOVERNMENT’

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LE ORIGINAL FORMAL
DOCUMENTS UNDER
MEMORANDUM OF POINTS AND

EXTRADITION
SEAL;

AUTHORITIES; DECLARATION 0
DONNA FORD

 

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[UNDER SEAL]

   

 

 

  

 
 

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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

by we V 43 - 1320 5K

GOVERNMENT’ S APPLICATION FOR
ORDER TO FILE ORIGINAL FORMAL
EXTRADITION DOCUMENTS UNDER
SEAL; MEMORANDUM OF POINTS AND
AUTHORITIES; DECLARATION OF
DONNA FORD

IN THE MATTER OF THE
EXTRADITION OF

WAHAK KATSCHADOR,
aka “Vahagn Khachatryan, ”

A Fugitive from the
Government of the Federal
Republic of Germany

[UNDER SEAL]

 

APPLICATION FOR ORDER TO FILE ORIGINAL FORMAL
EXTRADITION DOCUMENTS UNDER SEAL |
Complainant United States of America (“United States”), by
and through counsel of record, Assistant United States Attorney
Donna Ford, hereby respectfully applies to this Court for an
order to file original formal extradition documents (with seals
and ribbons) under seal.
This application is based upon the attached memorandum of

points and authorities, the declaration of Donna Ford, Assistant

 

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upon such further evidence or argument as may be requested by the

Court.

Counsel for the fugitive, Deputy Federal Public Defender

Alyssa Bell, was informed of the substance of this application.

Ms. Bell does not oppose this application. See Ford Declaration.

DATED :

February 21,

2013

Respectfully submitted,

ANDRE BIROTTE JR.
United States Attorney

ROBERT E. DUGDALE
ited States Attorney

   

 

DONNA FORD
Assistant United States Attorney

Attorneys for Complainant
UNITED STATES OF AMERICA

 
 

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MEMORANDUM OF POINTS AND AUTHORITIES

 

Complainant United States of America (“Complainant”), seeks
an order to file original formal extradition documents (with
seals and ribbons) under seal. -In addition to the original
documents, a copy of the redacted English translation will be
filed in this matter forthwith.

The reason for this request is that the original formal
extradition documents (with seals and ribbons) contain personal
identifying information of the fugitive, WAHAK KATSCHADOR, aka
“Vahagn Khachatryan,” and therefore, should be filed under seal.

On that basis, respondent seeks an order that original
formal extradition documents shall be placed undér seal in this
matter.

DATED: February 21, 2013

| Respectfully submitted,

ANDRE BIROTTE UR.
United States Attorney

ROBERT E. DUGDALE
Assistant United States Attorney
Chief, Criminal Division

 

DONNA FORD
Assistant United States Attorney

Attorneys for Complainant
UNITED STATES OF AMERICA

 

 
 

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1 DECLARATION OF DONNA FORD
2 I, DONNA FORD, hereby declare as follows:
3 1. I am an Assistant United States Attorney in the Central

4 District of California. I have been assigned to represent. the

5 || United States in this extradition matter from the Federal

6 || Republic of Germany.

7 2. The United States seeks. an order to file the original

8 || formal extradition documents (with seals and ribbons) under seal
9]}in this matter. In addition to the original documents, a copy of

10 || the redacted English translation will.be filed in this matter

11 |) forthwith.

12 3. The reason for this application is that the original

13 || formal extradition documents contain personal identifying

14 information of the fugitive, WAHAK KATSCHADOR, aka “Vahagn

15 || Khachatryan,” and therefore should be placed under seal.

16 5. I contacted counsel for the fugitive, Deputy Federal

17 Public Defender Alyssa Bell, and informed her of the substance of

18 |) this application. Ms. Bell does not oppose this application.

19 | Executed February YU, 2013in Los Angeles, California.

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21 DONNA FORD
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